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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                   DELTA DIVISION

 WILLIAM ALLEN CARPENTER                                                          PLAINTIFF

 VS.                                                            CIVIL ACTION NO. 2:11-cv-113

 AMERICAN HONDA FINANCE CORPORATION                                             DEFENDANT



                      FINAL ORDER OF DISMISSAL WITH PREJUDICE


       .   THIS CAUSE is now before the Court upon the motion, ore tenus, of the parties for a

 dismissal of any and all claims of the plaintiff against the defendant arising out of or related to

 this cause of action, and the Court, having considered same, does hereby find that the parties'

 motion is well-taken and shall be granted.

           IT IS, THEREFORE, ORDERED AND ADJUDGED that the above-captioned cause of

 action, pursuant to Federal Rule of Civil Procedure 41, shall hereby be dismissed with prejudice,

. with each party to be responsible for their own costs.
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           SO ORDERED AND ADJUDGED this the                l'         day of -S.~       ,2011.


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                                                 UNITED STATES DI             CT JUDGE




 WILL       ALL
 Pro Se plaintiff

 L~DPr-                        =-­
